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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
       ---------------------------------------------------------------------X
       MINHYE PARK,
                                                                                Index No.: 1:20-cv-02636
                                          Plaintiff,
                                                                                DECLARATION IN
                                                                                SUPPORT OF MOTION
               -against-
                                                                                TO COMPEL
       DAVID DENNIS KIM, M.D.,

                                          Defendant.
       ---------------------------------------------------------------------X

              HAYLEY NEWMAN declares under the penalty of perjury as follows:

      I am a partner of the law firm of HEIDELL, PITTONI, MURPHY & BACH, LLP, counsel for

      Defendant DAVID DENNIS KIM, M.D. I am fully familiar with the facts set forth below based

      on my review of the file maintained by this office for the defense of this action.

              1.       Attached as Exhibit A is a true and correct copy of the Summons and Complaint.

              2.       Attached as Exhibit B is a true and correct copy of Defendant’s Answer.

              3.       Attached as Exhibit C is a true and correct copy of Defendant’s First Set of

                       Interrogatories and First Demand for the Production of Documents.

              4.       Attached as Exhibit D is a true and correct copy of Plaintiff’s Response to

                       Defendant’s First Demand for Interrogatories and her Rule 26 Disclosures.

              5.       Attached as Exhibit E is a true and correct copy of Defendant’s Letter to Plaintiff

                       date February 8, 2021.

              6.       Attached as Exhibit F is a true and correct copy of Defendant’s Letter to Plaintiff

                       dated March 9, 2021.




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             7.    Attached as Exhibit G is a true and correct copy of Defendant’s Letter to Plaintiff

                   dated April 29, 2021.

             8.    Attached as Exhibit H is a true and correct copy of Defendant’s Second Demand

                   for Production of Documents.

             9.    Attached as Exhibit I is a true and correct copy of Defendant’s Letter to Plaintiff

                   dated June 21, 2021.

             10.   Attached as Exhibit J is a true and correct copy of Plaintiff’s medical records from

                   her treatment with Dr. Kim.

             11.   Attached as Exhibit K is a true and correct copy of Plaintiff’s First Request for

                   Admission.

             12.   Attached as Exhibit L is a true and correct copy of Defendant’s Letter to Plaintiff

                   dated March 9, 2021 concerning Plaintiff’s First Request for Admissions.

             13.   Attached as Exhibit M is a true and correct copy of the Sharefile Receipt

                   documenting that plaintiff’s counsel was sent Dr. Kim’s chart on February 10,

                   2021.

      Dated: New York, New York
             July 29, 2021
                                             Respectfully submitted,

                                             HEIDELL, PITTONI, MURPHY & BACH, LLP

                                             By: _______________________________________
                                                Hayley Newman (HN 5509)
                                                99 Park Avenue
                                                New York, New York 10016
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                                                  Attorneys for Defendant
                                                  DAVID DENNIS KIM, M.D.



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       TO:   VIA ECF
             Jae Lee, Esq.
             JSL LAW OFFICES, P.C.
             Attorneys for Plaintiff
             626 RXR Plaza
             Uniondale, NY 11556




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